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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Clarksburg


STATE OF OHIO,
STATE OF COLORADO,
STATE OF ILLINOIS,
STATE OF NEW YORK,
STATE OF NORTH CAROLINA,
STATE OF TENNESSEE,
STATE OF WEST VIRGINIA,
UNITED STATES OF AMERICA,
COMMONWEALTH OF VIRGINIA,
DISTRICT OF COLUMBIA,
STATE OF MINNESOTA, and
STATE OF MISSISSIPPI,

                       Plaintiffs,

               v.                                      CIVIL ACTION NO. 1:23-CV-100
                                                       Judge Bailey

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION,

                       Defendant.

                                     SCHEDULING ORDER

       The Preliminary Injunction [Doc. 63] shall remain in effect until a full and final

trial and decision on the merits. Pursuant to Federal Rules of Civil Procedure (“FED. R.

Civ. P.”) 16(b) & 26(f), and the Local Rules of Civil Procedure (“LR Civ P”), it is hereby

ORDERED that the below listed dates be adopted subject to the definitions following

hereinafter:

1. Intermediate Pretrial Conference:      2. Mediation on or Before:
                      At Parties’ Request                       May 15, 2025



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3. Joinder & Amendments:                         9. Voir Dire, Jury Instructions,
                    February 16. 2024               and Verdict Form: May 2. 2025
                                                        a. Objections: May 16. 2025
4. Expert Disclosures:
   a. With Burden:     October 15, 2024 10. Motions in Limine: May 2. 2025
   b. Without Burden: November 15. 2024      a. Objections: May 16, 2025

5. Answer:                                       11. Biographical Sketches:
                     February 19, 2024                                  May 2. 2025

6. Discovery Completion:                     12. Joint Pretrial Order:
      a. Fact Discovery: October 1 2024                                May 30. 2025
       b. Expert Discovery: January 31, 202S-~
                                             13. Final Pretrial Conference:
7. Motion Practice/Dispositive Motions:                    June 2, 2025, at 2:00 p.m.,
                       February 28. 2025                   in Wheeling, WV
      a. Responses: March2l2025
      b. Replies:     March 31, 2025         14. Jury Trial:
                                                           June 10, 2025, at 9:00 a.m.,
8. FED.R. 26(a)(3) Disclosures:                            in Wheeling, WV
                       May 2, 2025
      a. Objections: May 16, 2025


       1. Intermediate Pretrial Conference: At parties’ request.

       2. Mediation: The parties shall have mediated this matter in good faith on or

before May 15,2025. If the parties employ a private mediator, lead counsel for the plaintiff

(or an attorney representing a defendant if the plaintiff is appearing pro Se) shall instruct

the private mediator to complete the mediation report form (which is available at this

Court’s website at www.wvnd.uscourts.ciov/documents/forms) and submit the completed

mediation report form to the appropriate clerk’s office within ~çj~ (10) days following the

mediation.




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       3. Joinder and Amendments: Motions to join additional parties, motions to amend

pleadings, and any crossclaim or counterclaim and the reply thereto, as well as any similar

motions, shall be fully effected by February 16. 2024.

       4. Expert Disclosures: The party bearing the burden of proof on an issue

(normally the plaintiff) shall make the disclosures required by FED. R. Civ. P. 26(a)(2)(A)

and (B) for that issue to all other parties or their counsel no later than October 15. 2024.

       The party not bearing the burden of proof on an issue (normally the defendant) shall

make the disclosures required by FED. R. Civ. P. 26(a)(2)(A) and (B) for that issue to all

other parties or their counsel no later than November 15, 2024.

       The disclosures described in FED. R. Civ. P. 26(a)(2)(B) shall not be required of

physicians and other medical providers who examined or treated a party or party’s

decedent unless the examination was for the sole purpose of providing expert testimony

in the case. However, their testimony shall be limited to the medical records unless

designated as expert witness for the purpose of giving opinion testimony (i.e. permanent

disability, future medical treatment, etc.).

       Upon by leave of this Court may parties provide disclosures or any evidence that is

intended solely to contradict or rebut evidence on the same issue identified by another

party under FED. R. Civ. P. 26(a)(2)(B).

       5. Answer: An Answer must be filed on or before February 19, 2024.

       6. Discovery Completion: All fact discovery shall be fully served and completed

by October 1. 2024. All expert discovery shall be fully served and completed by January

31! 2025. “Completed discovery” as used in FED. R. Civ. P. 16(b) means that all discovery


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 requests are to be filed far enough in advance to be completed as required by the rules

 before the discovery deadline. Objections, motions to compel and all other motions

 relating to discovery in this civil action should be filed as soon as the problem arises, but

 are to be filed no later than one week after the discovery completion date. The Court will

 not consider any untimely filed discovery related motions.

           The term “all discovery” in the preceding definition of “completed discovery” includes

the disclosures required by FED. R. Civ. P. 26(a)(1), (2), and (b)(5), but does not include the

disclosures required by FED. R. Civ. P. 26(a)(3).

           Parties have a continuing obligation to supplement their responses beyond the

discovery cut-off date as provided in FED. R. Civ. P. 26(e). The parties should refer to LR

Civ P5.01, LR Civ P26.01-26.04, LR Civ P33.01, LR Civ P34.01, LR Civ P36.01, LR Civ

P 37.02 for further instructions on discovery practice.

       Motions to compel are generally referred to the Magistrate Judge. However, the

Court, if available, is open to conducting telephone hearings if serious disagreements

threaten to terminate the conduct of depositions or examinations, If a motion to compel

is pending for a decision more than thirty (30) days after filing, the burden is upon the

moving party to inform the Court as to whether this status will interfere with other deadlines

contained in this Scheduling Order.

       The conduct of any discovery which would require a later time limit shall be

permitted only on the order of the Court or by filed stipulation of the parties, and only in

cases that will not be delayed for trial thereby.1 The parties should be aware that a

       1Extension of the discovery deadline does not change the other deadlines set forth
herein nor shall it be a basis for seeking extension of those deadlines. In particular, the

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stipulation to the continuance of discovery anticipates no discovery dispute and, therefore,

this Court will not hear discovery disputes arising during the stipulated continuance.

        7. Motion Practice I Dispositive Motions:

        a. Motion Practice before the Court is controlled by LR Civ P 7.02. Review this

rule for more specific detail of the Northern District’s motion practice. Motions shall be

concise and no longer than five (5) pages.       Supporting memoranda of law shall be no

longer than twenty-five (25) pages. As this Court intends to review all cases cited, counsel

must ensure thatthe cases relied upon stand forthe proposition, legal orfactual, forwhich

they are cited. The Court takes this requirement very seriously and will impose sanctions

for willful violations.

        b.   All Dispositive Motions, as well as deposition transcripts, admissions,

documents, affidavits, and any other such matters in support thereof, shall be filed no later

than February 28, 2025.

         Dispositive motions that are mature for decision may be made at any earlier time.

Any such motion must be supported by a memorandum at the time the motion is filed with

the Clerk. All Counsel are instructed that dispositive motions should be filed as soon as

the matter is mature. The above date is a “no-later-than” date.

        Memoranda in opposition to such motions filed on the deadline date shall be

delivered to the Clerk with copies served upon opposing counsel on or before March 21.

2025. Supporting memoranda of law shall be no longer than twenty-five (25) pages.



deadline for dispositive motions generally cannot be changed without affecting the trial
date. In considering to extend discovery, the parties should give thought as to any possible
impact on contemplated dispositive motions.

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        Any reply memoranda shall be delivered to the Clerk with copies served upon

opposing counsel on or before March 31, 2025. All dispositive motions unsupported by

memoranda will be denied without prejudice. LR Civ P 7.02. Supporting memoranda of

law shall be no longer than fifteen (15) pages.

        Factual assertions made in memoranda should be supported by specific references

to affidavits, depositions or other documents made a part of the record before the Court.

Copies of the supporting documents, or relevant portions thereof, should be appended to

the memoranda. The parties may refer to LR Civ P 7.02 for details on motion practice

before this Court.

        8. Pretrial Disclosures FED. R. Civ. P. 26(a)(3): Final pretrial disclosures, to

include trial witness list, depositions and interrogatories for use at trial, and trial exhibit lists

as further defined by FED. R. Civ. P. 26(a)(3) shall be filed and exchanged on or before M~y

2, 2025. A trial exhibit binder from each party will be exchanged and sent to the Judge’s

law clerk on the same date, with exhibits marked and tabbed in numerical sequence.

Original exhibits shall be submitted to the Clerk at trial and should not be tendered to the

Clerk prior to trial.

        a. Objections: Objections to the above must be filed in writing and submitted by

May 16, 2025, for consideration at the Final Pretrial Conference.

        9. Jury Instructions. Voir Dire, and Verdict Form: Proposed jury instructions of

law are to be provided on substantive theories of recovery or defense, on damages and

on evidentiary matters peculiar to the case, together with citation to pertinent statutory

and/or case authority (and along with a copy of the specific page reference attached


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thereto). The instructions are to be numbered consecutively to identify the party submitting

them, to have a title setting forth the subject matter of the instruction and to be set forth on

separate pages. No more than twenty (20) instructions are to be submiffed unless leave

is granted by the Court. Special interrogatories and verdict forms, if any are appropriate

to the case, will also be provided as well as all proposed voir dire questions requested by

counsel for submission to the jury by the Court and shall be exchanged by counsel and

delivered to the Clerk no later than May 2, 2025. These three items should not be filed in

a combined document but should be filed individually with specific document titles and a

case style.

       a. Objections: Objections to all of the above must be filed separately in writing

with a specific document title and case style no later than May 16, 2025. In addition, the

Court will not accept instructions after the Final Pretrial Conference unless such

instructions result from amending those previously submitted.

       (If the instructions and voir dire in this case are typed on a computer, counsel

are requested to provide to the court a disk labeled with the case name and the party

proposing the instructions in a format compatible with WordPerfect 12.                     The

envelope containing the disk should be marked “Contains Disk               --   Do Not X-Ray   --




May Be Opened for Inspection.” The disk will be returned to counsel if requested.)

       10. Motions in Limine: All motions in limine must be accompanied by short

statements (generally not more than a paragraph) of applicable memoranda of law and

filed with the Clerk not later than May 2, 2025. All motions in limine must be numbered

consecutively with a title listing the subject maffer of the motion.


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         a. Responses: Responses to such motions, which also must be accompanied by

a short statement of applicable law, shall be filed by counsel on or before May 16. 2025.

         11.   Biographical Sketches:         Biographical sketches of any proposed expert

witness shall be filed with the Court and with opposing counsel by May 2. 2025.

         12. Joint Pretrial Order: A joint pretrial order (meaning that the parties combine

their presentations into one document) shall be submitted to the Court not later than M~y

30, 2025. The joint pretrial order shall contain ONLY the matters set forth below,

unless additional items are added by joint agreement of the parties, in the following

order:

         (1) the pretrial disclosures required by FED. R. Civ. P. 26(a)(3), including witness and

         exhibit lists and any objections thereto;

         (2) contested issues of law requiring a ruling before trial;

         (3) a realistic, brief statement by counsel for plaintiff(s) and third-party plaintiff(s) of

         essential elements that must be proved to establish any meritorious claim remaining

         for adjudication and the damages or relief sought, accompanied by supporting legal

         authorities;

         (4) a realistic, brief statement by counsel for defendant(s) and third-party

         defendant(s) of essential elements that must be proved to establish any meritorious

         defense(s), accompanied by supporting legal authorities. Corresponding statements

         must also be included for counterclaims and cross-claims;

         (5) a brief summary of the material facts and theories of liability or defense;




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       (6) a single listing of the contested issues of fact and a single listing of the contested

       issues of law, together with case and statutory citations;

       (7) stipulations;

       (8) suggestions for the avoidance of unnecessary proof and cumulative evidence;

       (9) suggestions concerning any need for adopting special procedures for managing

       potentially difficult or protracted aspects of the trial that may involve complex issues,

       multiple parties, difficult legal questions or unusual proof problems;

       (10) a statement of all damages claimed, including an itemized list of special

       damages;

       (11) a statement setting forth a realistic estimate of the number of trial days

       required; and

       (12) any other matters relevant for pretrial discussion or disposition, including those

       set forth in FED. R. Civ. P. 16.

       13. Final Pretrial Conference: The Final Pretrial Conference shall be held on

June 2. 2025. at 2:00 p.m.. in Wheelinci, West Virginia. The conference shall be

attended by lead trial counsel for each represented party and all unrepresented parties.

Counsel shall be prepared to participate fully and to discuss all aspects of the case as well

as the matters set forth in the Joint Pretrial Order previously submitted.

       At least one of the attorneys for each party and all unrepresented parties

participating in the Pretrial Conference, or any conference before trial, shall have authority

to make decisions as to settlement, stipulations and admissions on all matters that

participants reasonably anticipate may be discussed. Counsel and parties are subject to



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 sanctions for failure to comply with this requirement and for lack of preparation specified

 in FED. R. Civ. P. 16(f) and LR Civ P 37.01 respecting pretrial conferences or orders.

        14. Jury Trial: Jury selection in this action shall be held on June 10.2025, at 9:00

 a.m., in Wheeling. West Virginia. Trial will commence upon the completion of jury

 selection.

        Testing of any courtroom technology, if intended to be used at trial, shall be

 conducted at least three (3) business days before the commencement of trial.

        The Court’s practice is to keep side-bar conferences to the absolute minimum and

 will generally allow objections to be more fully explained on the record after testimony for

 the day has concluded and the jury has been released.

        A party or parties requesting a continuance must contact all other parties to

 determine three possible dates to which to move the deadline or hearing. The moving

 party must specify these three possible dates within the motion to continue. LR Gen P

 88.02. If any party or parties object to a continuance, that fact shall be noted in the motion.

        15. Deadlines Final: The time limitations set forth above shall not be altered

 except as set forth in LR Civ P 16.01(f).

        16. Finality of Scheduling Order:           Unless authorized by the Court, the above

 dates and requirements of this Scheduling Conference Order are FINAL. Therefore, NO

 additional evidence developed as a result of deviations from the above will be admissible

 at trial, and no untimely motions will be considered.

        All dates for submissions, deliveries, and filings with the Clerk of the District Court

 refer to the date the materials must be actually received and not the mailing date.


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       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein.

       DATED: January 30, 2024.


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                                                  JO       STON BAILEY
                                                  UNITED STATES DISTRICT JUDGE




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